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                                                                                         Execution Version

                                        SECURITY AGREEMENT

        This Security Agreement (this “Security Agreement”), effective as of December 22, 2021, is made
and entered into by and between SOURCEWATER, INC., a Delaware corporation d/b/a Sourcenergy
(“Debtor”), and Energy Debt Holdings LLC, a Texas limited liability company (“Secured Party”), and
delivered pursuant to that certain Senior Secured Credit Note (the “Note”), dated of even date herewith,
made by the Debtor in favor of the Secured Party in the original principal amount of up to FIVE HUNDRED
THOUSAND AND 00/100 DOLLARS ($500,000.00).

                                                 RECITALS

         WHEREAS, to induce the Secured Party to enter into the Note, the Debtor has agreed to enter into
this Security Agreement to secure the Debtor’s obligations arising under the Note by granting to the Secured
Party a security interest in the Debtor’s property on the terms and conditions set forth below;

                                               AGREEMENT

        NOW, THEREFORE, in consideration of the premises and the mutual covenants and agreements
herein set forth, and in order to induce the Secured Party to enter into the Note and perform its obligations
thereunder, the Debtor hereby acknowledges and agrees that it will receive material benefit from the Note
and agrees with the Secured Party as follows:

        Section 1. Definitions. The term “State”, as used herein, means the State of Texas. All terms
defined in the Uniform Commercial Code of the State and used herein shall have the same definitions as
specified therein. However, if a term is defined in Article 9 of the Uniform Commercial Code of the State
differently than in another Article of the Uniform Commercial Code of the State, the term has the meaning
specified in Article 9. The term “Obligations”, as used herein, means all of the indebtedness, obligations
and liabilities of the Debtor to the Secured Party, whether direct or indirect, joint or several, absolute or
contingent, due or to become due, now existing or hereafter arising under the Note and this Security
Agreement (the “Loan Documents”).

         Section 2. Grant of Security Interest. The Debtor hereby grants to the Secured Party, to secure
the payment and performance in full of all of the Obligations, a security interest in, and so pledges and
assigns to the Secured Party, the following properties, assets and rights, wherever located, whether now
owned or hereafter acquired or arising, and all proceeds and products thereof (all of the same being
hereinafter called the “Collateral”): all personal property of the Debtor of every kind and nature, whether
tangible or intangible, including without limitation all goods (including inventory, equipment and any
accessions thereto), instruments (including promissory notes), documents, accounts (including insurance
receivables), chattel paper (whether tangible or electronic), deposit accounts, letter-of-credit rights (whether
or not the letter of credit is evidenced by a writing), securities and all other investment property, supporting
obligations, any other contract rights or rights to the payment of money, insurance claims and proceeds,
and all general intangibles (including all intellectual property and payment intangibles).

       Section 3. Representations and Warranties; Covenants. The Debtor hereby warrants and
covenants as follows:

        (a)    The Debtor will promptly furnish the Secured Party such information concerning the
Debtor, the Collateral, and any of the Debtor’s account debtors as the Secured Party may at any time
reasonably request.
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         (b)     The Debtor will permit the Secured Party and its representatives at any reasonable time to
inspect any and all inventory forming part of the Collateral, and to inspect, audit and make copies of and
extracts from all records and all other papers in possession of the Debtor pertaining to the Collateral and
the Debtor’s account debtors, and will promptly, on request of the Secured Party, deliver to the Secured
Party all such records and papers. The Secured Party shall treat all such records and information pertaining
to the Collateral provided to it hereunder as confidential information, and hereby agrees not to disclose to
any third party any such records or information pertaining to the Collateral.

        Section 4. Disposition of Collateral in Ordinary Course. Nothing herein shall prevent the
Debtor from selling, trading in, or replacing any of the Collateral in the ordinary course of its business.

         Section 5. Secured Party May Perform. Secured Party, at its option, and after ten (10) days’
written notice to Debtor, but without any obligation whatsoever to do so, may (i) discharge taxes, claims,
charges, liens, security interests, assessments or other encumbrances of any and every nature whatsoever at
any time levied, placed upon or asserted against the Collateral to the extent then past due, (ii) place and pay
for insurance on the Collateral, including insurance that only protects Secured Party’s interest, (iii) during
the continuance of an Event of Default pay for the repair, improvement, testing, maintenance and
preservation of the Collateral, (iv) pay any filing, recording, registration, licensing or certification fees or
other fees and charges related to the Collateral, or (v) take any other reasonable action necessary to preserve
and protect the Collateral and Secured Party’s rights and remedies under this Agreement. Debtor agrees
that Secured Party shall have no duty or obligation whatsoever to take any of the foregoing actions. Should
Debtor fail to take such actions at its own expense, after receipt of notice from the Secured Party, Debtor
agrees to promptly reimburse Secured Party following written demand (including documentation
reasonably supporting such request) for any payment made or any expense incurred by the Secured Party
pursuant to this authorization. These payments and expenditures, together with interest thereon from date
incurred until paid by Debtor at the maximum contract rate allowed under applicable laws, which Debtor
agrees to pay, shall constitute additional Obligations and shall be secured by and entitled to the benefits of
this Agreement. The Debtor agrees to reimburse the Secured Party on demand for any payment made, or
any expense incurred by the Secured Party pursuant to the foregoing authorization, including attorneys’
fees and expenses. Until an Event of Default, the Debtor may have possession of the Collateral and use it
in any lawful manner not inconsistent with this Security Agreement and not inconsistent with any policy of
insurance thereon.

        Section 6. Obligations Secured; Default; Certain Remedies.

         (a)     This Security Agreement secures the Obligations to the Secured Party. Upon the
occurrence of an Event of Default (as defined in the Note) with respect to the Debtor’s Obligations under
the Loan Documents (which shall be following the failure of Debtor and/or any Cure Party (as defined in
the Note) to cure or correct an Event of Default within the sixty (60) day time frame set forth in Section 5
of the Note), the Secured Party shall have the remedies of a secured party under the Uniform Commercial
Code in the State. The Secured Party may require the Debtor to assemble the Collateral and make it
available to the Secured Party at a place to be designated by the Secured Party which is reasonably
convenient to both parties. Unless the Collateral is perishable or threatens to decline speedily in value or
is of a type customarily sold on a recognized market, the Secured Party will give the Debtor reasonable
notice of the time and place of any public sale thereof or of the time after which any private sale or any
other intended disposition thereof is to be made. The requirements of reasonable notice shall be met if such
notice is mailed to the Debtor via registered or certified mail, postage prepaid, at least fifteen (15) days
before the time of sale or disposition. Expenses of retaking, holding, preparing for sale, selling or the like,
shall include the Secured Party’s reasonable attorneys’ fees and legal expenses. For the avoidance of doubt,



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an event shall not be considered an Event of Default (hereunder of under the Note) until Secured Party
notifies the Board of Directors of Debtor of such default pursuant to Section 5 of the Note and Debtor
and/or a Cure Party fails to correct or cure such default event within the sixty (60) day time period following
such notice in accordance with Section 5 of the Note. In addition to any other remedies set forth herein,
upon the occurrence of an Event of Default and after reasonable notice as set forth in this Section 6(a),
Secured Party may accelerate all or any part of the Obligations and at any time thereafter exercise and/or
enforce any of Secured Party’s rights and remedies at Secured Party’s option.

         (b)     Upon the occurrence of an Event of Default and after reasonable notice as set forth in
Section 6(a) above, Secured Party shall be entitled to immediate possession of all books and records
evidencing any Collateral, and it or its representatives shall have the authority to enter upon any premises
upon which any Collateral may be situated and remove the same therefrom without liability. Debtor shall
be entitled to any surplus, and Debtor shall be liable to Secured Party for any deficiency.

        (c)      Upon the occurrence of an Event of Default and after reasonable notice as set forth in
Section 6(a) above, Secured Party may foreclose on the Collateral or any part thereof by any method
permitted by the Uniform Commercial Code and sell or otherwise dispose of and deliver the Collateral or
any part thereof or interest therein at public or private sale or sales, at such prices and on such terms as may
be commercially reasonable, with the right to the Secured Party or any purchaser to purchase the whole or
any part of the Collateral free of any right or equity of redemption in Debtor, which right or equity is hereby
expressly waived and released.

        (d)     The Debtor hereby appoints the Secured Party as the Debtor’s lawful attorney, with full
power of substitution, in the name of the Debtor, for the sole use and benefit of the Secured Party, but at
the Debtor’s expense, to exercise, subject to the notice requirements set forth in paragraph (a) above, all or
any of the following powers with respect to all or any of the Collateral from and after the occurrence and
during the continuance of an Event of Default:

        (i)      to demand, sue for, collect, receive and give a quittance for any and all monies due or to
                 become due;

        (ii)     to receive, take, endorse, assign and deliver all checks, notes, drafts, documents and other
                 negotiable and non-negotiable instruments and chattel paper taken or received by the
                 Secured Party;

        (iii)    to settle, compromise, compound, prosecute or defend any action or proceeding with
                 respect thereto;

        (iv)     to extend the time of payment of any or all thereof and to make any allowance and other
                 adjustments with reference thereto;

        (v)      to discharge any taxes, liens, security interests or other encumbrances at any time placed
                 thereon; and

        (vi)     to receive, open and forward the Debtor’s mail.

        Section 7. Debtor Remains Liable. Anything herein to the contrary notwithstanding:



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        (a)      the Debtor shall remain liable under the contracts and agreements included in the Collateral
to the extent set forth therein, and shall perform all of its duties and obligations under such contracts and
agreements to the same extent as if this Security Agreement had not been executed;

       (b)       the exercise by the Secured Party of any of his rights hereunder shall not release the Debtor
from any of its duties or obligations under any such contracts or agreements included in the Collateral; and

         (c)      the Secured Party shall not have any obligation or liability under any such contracts or
agreements included in the Collateral by reason of this Security Agreement, nor shall the Secured Party be
obligated to perform any of the obligations or duties of the Debtor thereunder or to take any action to collect
or enforce any claim for payment assigned hereunder but shall cooperate in the release of any lien to the
extent it is necessary for the Debtor to dispose of the Collateral in the operation of the business.

        Section 8. Security Interest Absolute. All rights of the Secured Party and the security interests
granted to the Secured Party hereunder shall be absolute and unconditional, irrespective of:

         (a)     any change in the time, manner or place of payment of, or in any other term of, all or any
part of the Obligations or any other amendment to or waiver of or any consent to any departure from the
Loan Documents;

        (b)     any exchange, release or non-perfection of any collateral (including the Collateral), or any
release of or amendment to or waiver of or consent to or departure from any guaranty, for all or any of the
Obligations; or

        (c)      any other circumstance which might otherwise constitute a defense available to, or a
discharge of, the Debtor.

        Section 9. Additional Assurances. At the request of the Secured Party, the Debtor will join in
executing or will execute, as appropriate, all necessary financing statements and other documents
reasonably necessary to secure the Secured Party’s rights hereunder, in a form reasonably satisfactory to
the Secured Party.

        Section 10. Expenses. The Debtor will upon demand pay to the Secured Party the amount of any
and all reasonable expenses, including the reasonable fees and disbursements of his counsel and of any
experts and agents, which the Secured Party may incur in connection with: (a) the custody, preservation,
use or operation of, or the sale of, collection from, or other realization upon, any of the Collateral; (b) the
exercise or enforcement of any of the rights of the Secured Party hereunder; or (c) the failure by the Debtor
to perform or observe any of the provisions hereof.

        Section 11. Covenants.

         (a)     So long as the Obligations remain unpaid, Debtor shall: (i) keep the Collateral free of all
liens, encumbrances and security interests, other than those of the Secured Party’s and those of Adler’s
arising with respect to the Adler Note (as contemplated by the Subordination and Intercreditor Agreement
of even date herewith by and among Debtor, Secured Party and Joshua Adler) or the EIDL (as contemplated
by the Note); (ii) defend the Collateral against all claims and legal proceedings; (iii) pay and discharge
when due all taxes, levies, fees and other charges upon the Collateral; (iv) not use or permit the Collateral
to be used in violation of any applicable law or for personal, family or household purposes, nor in farming
operations; (v) allow the Secured Party to inspect the Collateral and all books and records of Debtor
pertaining to the Collateral (and make copies thereof) upon Secured Party’s reasonable request; (vi) take
any and all commercially reasonable actions necessary to defend title to the Collateral against all persons



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and to defend the security interest of the Secured Party in the Collateral and the priority thereof against any
lien not expressly permitted hereunder; (vii) not sell or offer to sell, assign, pledge, lease or otherwise
transfer (whether directly or indirectly) the Collateral or any interest therein outside of the ordinary course
of business, without the prior written consent of the Secured Party; and (viii) execute and deliver such
additional documents and agreements as the Secured Party may request to protect the security interest
granted herein and the priority of the Secured Party’s interest in the Collateral.

        (b)     Debtor shall use commercially reasonable efforts (taking into account the benefits and costs
of any action to be taken) to maintain, service and repair the material Collateral so as to keep it in good
operating condition (ordinary wear and tear, casualty and condemnation excepted). Debtor shall use
commercially reasonable efforts (taking into account the benefits and costs of any action to be taken) to
replace within a reasonable time all parts of material Collateral that may be worn out, lost, destroyed or
otherwise rendered unfit for use, with appropriate replacement parts. Debtor shall obtain and maintain in
good standing at all times all applicable material permits, licenses, registrations and certificates respecting
the Collateral.

         (c)      Debtor shall notify Secured Party in writing thirty (30) days prior to changing the name,
identity, jurisdiction of incorporation or organization, place of business, chief executive office, or
organizational structure of Debtor, and promptly upon any responsible officer learning of any charge, lien,
security interest, claim or encumbrance asserted against the Collateral, any litigation against Debtor or the
Collateral, any theft, loss, injury or similar incident involving the Collateral.

        (d)     Debtor shall furnish to Secured Party, if requested, a landlord’s waiver of all liens and an
access agreement with respect to any Collateral covered by this Agreement that is or may be located upon
leased premises, such landlord’s waivers and access agreements to be in such form and upon such terms as
are reasonably acceptable to Secured Party.

         (e)      Debtor shall maintain in all material respects true, complete and accurate records of the
Collateral and all products and proceeds thereof, and shall allow Secured Party, by or through any of its
officers, agents, attorneys or accountants, to examine the Collateral upon Secured Party’s request.

         (f)      Debtor shall do, make, procure, execute and deliver such additional and further acts, things,
deeds, interests and assurances as Secured Party may reasonably request from time to time to create, perfect
or continue Secured Party’s security interests and to protect, assure and enforce Secured Party’s rights and
remedies, duly noting Secured Party’s security interest therein, if applicable. Debtor shall, at any time and
from time to time, take such steps as Secured Party may reasonably request for Secured Party (i) to obtain
an acknowledgment, in form and substance reasonably satisfactory to Secured Party, of any bailee having
possession of any the Collateral, agreeing that such bailee holds possession of the Collateral for the benefit
of Secured Party, (ii) to obtain “control,” in any manner required by Secured Party, of any investment
property, deposit account, letter of credit right, or electronic chattel paper (as such terms are defined in
Article 9 of the UCC), pursuant to agreements establishing control in form and substance reasonably
satisfactory to Secured Party, and (iii) otherwise to insure the continued perfection of Secured Party’s
security interests in any of the Collateral, and the preservation of Secured Party’s rights therein.

        Section 12. Miscellaneous.

        (a)     No Waivers. No waiver by the Secured Party of any default shall operate as a waiver of
any other default or of the same default on any subsequent occasion.




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        (b)    Successors and Assigns. All rights of the Secured Party shall inure to the benefit of the
successors and assigns of the Secured Party. All obligations of the Debtor shall be binding upon the
Debtor’s successors and assigns.

        (c)      Counterparts. This Security Agreement may be executed in any number of counterparts,
each of which will be deemed an original, but all of which together shall constitute one and the same
instrument. The delivery by a party of a PDF or facsimile signature to this Security Agreement shall have
the same effect as the delivery of an original signature.

         (d)     Remedies Cumulative. The rights and remedies herein are cumulative, and not exclusive
of other rights and remedies which may be granted or provided by law.

       (e)     Notices. All notices and other communications hereunder shall be in writing and shall be
deemed effective when given in accordance with the Note.

         (f)     Entire Agreement. This Security Agreement, the Note and the documents and instruments
referred to herein embody the entire agreement entered into between the parties relating to the subject matter
hereof, and may not be amended, waived, or discharged except by an instrument in writing executed by the
party against whom enforcement of said amendment, waiver, or discharge is sought.

        (g)      CHOICE OF LAW AND VENUE; SUBMISSION TO JURISDICTION; SERVICE OF PROCESS.

              (i) THE VALIDITY OF THIS SECURITY AGREEMENT, ITS CONSTRUCTION, INTERPRETATION,
                  AND ENFORCEMENT, AND THE RIGHTS OF THE PARTIES HERETO SHALL BE DETERMINED
                  UNDER, GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE
                  OF TEXAS (WITHOUT REFERENCE TO THE CHOICE OF LAW PRINCIPLES THEREOF). THE
                 PARTIES HERETO AGREE THAT ALL ACTIONS OR PROCEEDINGS ARISING IN CONNECTION
                 WITH THIS SECURITY AGREEMENT SHALL BE TRIED AND LITIGATED ONLY IN THE STATE
                 AND FEDERAL COURTS LOCATED IN THE COUNTY OF HARRIS, STATE OF TEXAS.

              (ii) THE DEBTOR AND THE SECURED PARTY HEREBY SUBMIT FOR THEMSELVES AND IN
                   RESPECT OF THEIR PROPERTY, GENERALLY AND UNCONDITIONALLY, TO THE JURISDICTION
                   OF THE AFORESAID COURTS AND WAIVE, TO THE EXTENT PERMITTED UNDER APPLICABLE
                   LAW, ANY RIGHT THEY MAY HAVE TO ASSERT THE DOCTRINE OF FORUM NON CONVENIENS
                 OR TO OBJECT TO VENUE TO THE EXTENT ANY PROCEEDING IS BROUGHT IN ACCORDANCE
                 WITH THIS SECTION.

              (iii) NOTHING IN THIS SECURITY AGREEMENT SHALL BE DEEMED OR OPERATE TO AFFECT THE
                    RIGHT OF THE SECURED PARTY OR THE DEBTOR TO SERVE LEGAL PROCESS IN ANY OTHER
                    MANNER PERMITTED BY LAW, OR TO PRECLUDE THE ENFORCEMENT BY THE SECURED
                    PARTY OR THE DEBTOR OF ANY JUDGMENT OR ORDER OBTAINED IN SUCH FORUM OR THE
                    TAKING OF ANY ACTION UNDER THIS SECURITY AGREEMENT TO ENFORCE SAME IN ANY
                    OTHER APPROPRIATE FORUM OR JURISDICTION.

       (h)   WAIVER OF JURY TRIAL. THE DEBTOR AND THE SECURED PARTY HEREBY WAIVE
THEIR RESPECTIVE RIGHTS TO A JURY TRIAL OF ANY CLAIM OR CAUSE OF ACTION BASED UPON OR
ARISING OUT OF THIS SECURITY AGREEMENT OR ANY OF THE TRANSACTIONS CONTEMPLATED
HEREIN, INCLUDING CONTRACT CLAIMS, TORT CLAIMS, BREACH OF DUTY CLAIMS, AND ALL OTHER
COMMON LAW OR STATUTORY CLAIMS. THE DEBTOR AND THE SECURED PARTY REPRESENT THAT
EACH HAS REVIEWED THIS WAIVER AND EACH KNOWINGLY AND VOLUNTARILY WAIVES HIS OR ITS
JURY TRIAL RIGHTS FOLLOWING CONSULTATION WITH LEGAL COUNSEL. IN THE EVENT OF



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LITIGATION, A COPY OF THIS SECURITY AGREEMENT MAY BE FILED AS A WRITTEN CONSENT TO A
TRIAL BY THE COURT.

        (i)     Legal Representation. Each party hereto hereby acknowledges and agrees that such party
has had the opportunity to consult with and obtain the advice and counsel of an attorney of such party’s
own choosing. In this regard, the Secured Party hereby further acknowledges, agrees and consents that the
law firm of R. Reese & Associates, PLLC acts as legal counsel solely to the Debtor with respect to this
Security Agreement, and that such firm does not act as legal counsel to the Secured Party with respect to
this Security Agreement.

        (j)      Construction. Any rule of construction that a document is to be construed against the
drafting party shall not be applicable to this Security Agreement. The parties hereto agree that the terms of
this Security Agreement are the product of negotiation of the parties, and that this Security Agreement shall
not be construed against any party by virtue of the fact that one party may have drafted this Security
Agreement.

      (k)      Assignment. Neither party hereto may assign or otherwise transfer this Security
Agreement to another party without the prior written consent of the other party hereto.

         (l)     Captions. The captions in this Security Agreement are inserted for convenience only and
are not to be used to limit the terms herein.

         (m)      Severability. In case any provision in or obligation under this Security Agreement shall be
invalid, illegal or unenforceable in any jurisdiction, the validity, legality and enforceability of the remaining
provisions or obligations, or of such provision or obligation in any other jurisdiction, shall not in any way
be affected or impaired thereby.

                                          [Signature Page Follows]




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        IN WITNESS WHEREOF, the parties hereto have executed this Security Agreement effective as
of the date first set forth above.

DEBTOR:                                             SECURED PARTY:

SOURCEWATER, INC.                                   Energy Debt Holdings LLC



By:                                                 By:

Name: Joshua Adler                                  Name:

Its: CEO                                            Its:




                             Signature Page to Security Agreement
